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                                                                              Electronically Filed
                                                                              11/1/2017 3:41 PM
                                                                              Fourth Judicial District, Ada County
                                                                              Christopher D. Rich, Clerk of the Court
                                                                              By: Nichole Snell, Deputy Clerk




 Warren W. Dowdle ISB #5975
 Laurie Litster Frost ISB #7479
 LITSTE R FROST INJURY LA WYERS
 3501 W. Elder St., Suite 208
 Boise, ID 83705
 Email: wwd@Iitsterfrost.com
 Phone: (208) 489-6400
 Fax: (208) 489-6404

 Attorney s for Plaintiff


             IN THE DISTRI CT COURT OF THE FOURT H JUDICI AL DISTRI CT

                 ST ATE OF IDAHO, IN AND FOR THE COUNTY OF ADA


  BARBA RA ANN GARDNER,
  individually,                                      Case No~V01-17-20388

                        Plaintiff,
                                                     COMPLAINT AND DEMAND
  vs.                                                FOR JURY TRIAL

  HARBO R FREIGHT TOOLS USA, INC.,
  a Delaware corporation,                           Category: AA
                                                    Fee: $221.00
                       Defendant.




        The Plaintiff, Barbara Ann Gardner, and by and through Plaintiff s attorneys of record,

Litster Frost Injury Lawyers, complains and alleges against Defendants as follows:

                                           PARTIES

        I.     Plaintiff, Barbara Ann Gardner (hereinafter "Plaintif f'), resides in Idaho City,

Boise County, and State of Idaho.

        2.     Plaintiff alleges upon information and belief that Defendant, Harbor Freight Tools

COMPLA INT AND DEMAND FOR JURY TRIAL - I




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 USA, Inc., (hereinafter "Defendant"), was, and is, a Delaware corporation conducting business in

 Idaho, at 10296 W. Fairview Avenue in Boise, Idaho, in Ada County.

           3.    This Complaint is to be considered a "notice pleading" to Defendant. By this

 Complaint, Defendant is provided notice that Plaintiff asserts any and all legal and equitable

 theories and causes of action arising out of, resulting in, implied, and/or inferred from the facts

 and occurrences as set forth in the Complaint. Further, Plaintiff states that this "notice pleading"

 also provides notice to Defendant that all legal and equitable remedies applicable under all of the

 facts and circumstances of this case are sought.

                                  JURISDICTION AND VENUE

           4.    Jurisdiction is proper in District Court in that the amount of damages exceeds

 $10,000.00,

           5.    Venue is proper in Ada County, Idaho pursuant to, and by virtue of, Idaho Code §

 5-404.

                                                FACTS

          6.    Plaintiff restates each and every allegation previously contained herein.

          7.    On February 3, 2017, Plaintiff was lawfully on Defendant's premises, a hardware

store, at 10296 W. Fairview Avenue in Boise, Idaho.

          8.    As Plaintiff was entering the hardware store she tripped and fell on a rug that

Defendant had left bunched up.

          9.    Plaintiff suffered serious injuries from the fall.

          10.   No warning signs or cautionary cones were displayed to notify the public or

business invitees of the hazardous bunched up rug.

          11.   At all material times, Defendant knew, or through the exercise of reasonable

diligence should have known, that the rug in the entryway was bunched up, and that the bunched


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 up rug was dangerous and/or presented an unreasonable risk of harm to the Plaintiff and the

 public.

                                                   COUNT ONE

           12.        Plaintiff restates each and every allegation previously contained herein.

           13.        In light of the fact that the Defendant knew, or through the exercise of reasonable

 diligence, should have known, that the rug in the entryway was bunched up and that the bunched

 up rug was dangerous and/or presented and constituted an unreasonable risk of harm to the

 Plaintiff and the general public, Defendant owed a duty to Plaintiff and to the general public to:

                 a. Maintain the premises in a safe condition;

                 b. Correct a known dangerous condition;

                 c. Warn of a known dangerous condition;

                 d. Repair and/or maintain its premises:

                 e. Protect Plaintiff and the public from unreasonable risk(s) of harm;

                 f.   Exercise reasonable care under the circumstances;

                 g. Inspect and monitor the condition of the premises; and

                 h. Abide by its own rules and regulations, and by all pertinent laws and regulations

                      of all relevant jurisdictions.

           14.        On or about February 3, 2017, Defendant breached its duties owed to Plaintiff by

failing to:

                 a. Maintain the premises in a safe condition;

                 b. Correct a known dangerous condition;

                 c. Wam of a known dangerous condition;

                 d. Repair and/or maintain its premises;

                 e. Protect Plaintiff and the public from unreasonable risk(s) of harm;

COMPLAINT AND DEMAND FOR JURY TRIAL - 3



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              f.    Exercise reasonable care under the circumstances;

              g. Inspect and monitor the condition of the premises; and

              h. Secure the premises to protect the public from known dangers on the premises.

        15.        As a direct, proximate, and legal result of Defendant's negligence, gross

 negligence, recklessness and/or intentional acts, Plaintiff slipped and fell and suffered serious

and grievous physical injuries. As a direct, proximate, and legal result of the fall, Plaintiff has

incurred special damages and general damages in excess of$ I 0,000.00, and in an amount to be

proven at trial.

                                             COUNT TWO

        16.        Plaintiff restates each and every allegation previously contained herein.

        17.        As a direct, proximate, and legal result of the acts of Defendant, it has been

necessary for Plaintiff to hire the law finn of Litster Frost Injury Lawyers to prosecute this action

and, therefore, Defendant is liable for Plaintiffs attorney fees and costs pursuant to Idaho law.

                                               DEFAULT

        18.        A reasonable amount for attorney fees and costs in the event of default          IS


$5,000.00 (Five Thousand Dollars) or forty percent of the amount recovered, whichever               IS


greater. In the event this matter is contested, Plaintiff should be awarded such other and/or

further relief as detennined by the Court according to Idaho law.

                                              DAMAGES

       19.         As a proximate and/or producing result of Defendant's intentional acts,

negligence, gross negligence, and/or recklessness, Plaintiff has suffered injuries and damages.

       20.         There may be other factors affecting Plaintiff's damages. However, the intentional

acts, negligence, gross negligence, and/or recklessness of Defendant were substantial factors in

causing Plaintiff's damages.


COMPLAINT AND DEMAND FOR JURY TRIAL - 4



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         21.          There are certain elements of damages provided by law that Plaintiff is entitled to

 have the jury consider in determining the sum of money that will fairly and reasonably

 compensate him for his iajuries and damages. Those elements of damage include, but are not

 limited to, the following, both up to the time of trial and beyond:

                  a. Medical expenses necessarily incurred and to be incurred m the treatment of

                     Plaintiff;

                  b. Travel expenses necessarily incurred and to be incurred in securing treatment for

                     Plaintiff;

               c. The reasonable amount necessary to reimburse Plaintiff for time spent on

                     additional tasks necessitated by this injury, such as traveling to health care

                     providers and other tasks related to recovery;

               d. Lost earnings and lost earning capacity sustained and to be sustained by Plaintiff;

              e. Expenses necessarily incurred and to be incurred because of Plaintiffs permanent

                     physical impairment and the resulting inability to do those tasks and services that

                     Plaintiff ordinarily would have been able to perform;

              f.    The physical pain and suffering Plaintiff has endured and will continue to endure

                    because of the injuries Plaintiff sustained;

             g. The mental anguish and emotional distress Plaintiff has suffered or will continue

                    to suffer;

             h. Recovery for damages to property and/or lost property;

             1.     Reasonable attorney fees; and

             J.     The costs of prosecuting and presenting the evidence in this case.

       22.          Considering each of these elements of damages, Plaintiff has suffered damages in

excess of$10,000 .00.


COMPLAIN T AND DEMAND FOR JlJRY TRIAL - 5



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         23.     Plaintiff respectfully requests that a jury determine the amount of the losses

 incurred in the past and to be incurred in the future, not only from a financial standpoint, but also

 in terms of good health and freedom from pain and worry.

                                              PRAYER

         Plaintiff prays for judgment against Defendant as follows, for:

         I.     An award of special and general damages in an amount to be determined at the

 time of trial. Said damages are in excess of$ I 0,000.00.

         2.     An award of attorney fees and costs incurred herein; and

        3.      Such other and/or further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a trial by a jury of at least twelve ( 12) members on all issues in

 the above-entitled matter.



DA TED this    J_   day o f ~ 2017



                                                      LITSTER FROST INJURY LA WY RS




                                                      w
                                                      LAURIE LITSTER FR
                                                      Attorneys for Plaintiff




COMPLAINT AND DEMAND FOR .JURY TRIAL - 6



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